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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 HABIB OLAPADE,                                     Case No.: 3:19-cv-1183-KAD

                              Plaintiff,

                v.

 YALE LAW SCHOOL

                              Defendant
                                                    SEPTEMBER 3, 2019


           NOTICE OF FILING OF REDACTED PLEADINGS AND EXHIBITS

       Pursuant to the Court’s orders, the defendant has filed redacted versions of the following

plaintiff’s pleadings and exhibits: the Complaint, Exhibit E to the Complaint, Exhibit N to the

Complaint, Exhibit Q to the Complaint, the Motion for Temporary Restraining Order, Exhibit I to

the Motion for Temporary Restraining Order, and the Amended Complaint. (Docket Entry Nos.

30, 32).



                                               THE DEFENDANT, YALE LAW SCHOOL


                                               BY:___/s/ Patrick M. Noonan (#ct00189)__
                                                  Patrick M. Noonan
                                                  Donahue, Durham & Noonan, P.C.
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                                                  Guilford, CT 06437
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.



                                                      _______________/s/________________
                                                             Patrick M. Noonan




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